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Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 1 of 34

United States District Court
Middle District of Pennsylvania

 

ANGEL M. PAGAN,

VLADIMIR CRUZ, J
EDWIN MICHAEL BROWN.

JAIME SANCHEZ, aan
AND OTHER SIMILARLY SITUATED Civil Case No. /./8 GV 24 [7
INDIVIDUALS,

Plaintiff(s), )
v.

fouglas K. White, in his offical )

capacity as Warden LSCI Allenwood;

J. Ray Ormond, in his official capacity)

as Regional Director - Northeast Region, )
Defendant(s).

 

Complaint for Declaratory Judgment and Injunctive Relief

The Plaintiff(s), Angel M. Pagan, Vladimir Cruz, Fdwin Michael Brow,

Jaime Sanchez, and other similarly situated individuals seeks declaratory
and injunctive relief against Defendant Douglas K. White in his official

capacity as Warden, and J. Ray Ormond in his official capacity as Regional

Director for the Northeast Regional Office of the BOP for acting in excess

of statutory authority and abuse of authority.

NATURE OF ACTION

1. This is an action brought under the Administrative Procedures Act
("APA"), the Declaratory Judgment Act, 28 U.S.C. § 2201, Rule 65 of the Federal
Rule of Civil Procedure (Fed.R.Civ.P.) for injunctive relief to remedy the
defendants pattern and practice of ultra vires conduct in excess of statutory
and regulatory authority.or alternatively a Writ of Habeas Corpus pursuant
to 28 U.S.C. § 2241.

2. The Defendants have engaged in a pattern and practice to submit false
documentation to other BOP offices to induce them into acting and placing

Management variable on inmates to force them to do gate pass contrary to BOP
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Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 2 of 34

policy. The Defendants has engaged in a practice and pattern of threatening
inmates to lock them up in the Special Housing Unit (''SHU") when the pose no
serious threat if they refuse to do gate pass. Such practice is intended to
deny inmates fair consideration to lower custody levels, deprivation of
participation in incentive programs which could earn earlier release and is
contrary to statutory authority under 18 U.S.C. § 3621(b), § 3624 and 34 U.S.C.
§ 60541.

3. To redress irreparable harm of their rights, Plaintiffs seek declaratory

and injunctive relief.
Parties

4. Plaintiff Angel M. Pagan, is an individual currently in the custody
of the Acting Attorney General as delegated to the Federal Bureau of Prisons
currently located at LSCI Allenwood.

5. Plaintiff Vladimir Cruz is an individual currently in the custody
of the Acting Attorney General as delegated to the Federal Bureau of Prisons
currently located at LSCI Allenwood.

6. Edwin Michael Brown is an individual currently in the custody of the
Acting Attorney general as delegated to the Federal Bureau of Prisons currently
located at LSCI Allenwood.

7. Jaime Sanchez is an individual currently in the custody of the Acting
Attorney General as delegated to the Federal Bureau of Prisons currently located
at LSCI Allenwood.

8. Defendant Douglas K. White is the Warden at LSCI Allenwood, a federal
~eorrectional institution and has been delegated supervisory authority and
power over the day to day operation of all aspects and management of LSCI Allenwood
and its persomel. As Warden, he is responsible for ensuring compliance with
all establish rules, regulations, policy, ethical rules, laws and the Constitution
of the United States.
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Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 3 of 34

9. Defendant J. Ray Ormond is the Regional Director of the Northeast
Regional Office for the BOP and supervisor for Defendant Douglas K. White.
As Regional Director, Ormond has been delegated supervisory authority and power
over the day to day oversight, and management of all the institutions in the
Northeast Region including LSCI Allenwood. As Regional Director, Ormond is
| responsible for ensuring that the Warden, and personnel adhere to the policies,
procedures, rules, regulations, laws and U.S. Constitution are followed.

Jurisdiction and Venue

10. This Court has jurisdiction over this action pursuant to the APA,
5 U.S.C. $ 701, et seq, 28 U.S.c. § 1331 (federal question); 28 U.S.c. § 2241
and the Declaratory Judgment Act, 28 U.S.C. § 2201. 0

11. This Court has authority to grant declaratory judgment pursuant to
28 U.S.C. § 2201 and Rule 65 of Fed.R.Civ.P.

12. This Court has authority to grant injunctive relief in this action
pursuant to 5 U.s.c. § 702 and Rule 65 of Fed.R.Civ.P.

13. Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391(b)(2)
because a substantive part of the acts and omissions giving rise to Plaintiff

claim occurred and was to occur in this District.

14, Plaintiff Angel M. Pagan has exhausted all administrative remedies
as to the issue raised.

Factual Allegations

|
15. Pursuant to 18 U.S.C. § 3621(b) the Bureau of Prisons shall designate
the place of the prisoner's imprisonment. The Bureau may designate any available

penaly or correctional facility that meets minimum standards of health and

habitability established by the Bureau, whether maintained by the Federal Government

or otherwise and whether within or without the judicial district in which the

prisoner was connected, that the Bureau determines to be appropriate and suitable

considering ---
Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 4 of 34

(1) the resources of the facility contemplated,
(2) the nature and circumstarces of the offense;
(3) the history and characteristics of the prisoner;
(4) any statement by the court that imposed the sentence--
(AS concerning the purposes for which the sentence to imprisonment
was determined to be warranted; or
(B) recommending a type of penal or correctional facility as appropriate;

and
(5) any pertinent policy statement issued by the Sentencing Commission

pursuant to 994(a)(2) of Title 28.

In designating the place of imprisonment or making transfers under this
subsection there shall be no favoritism given to prisoners of high social or
economic status. ‘The Bureau may at any time, having regard for the same matters,
direct the transfer of a prisoner from one penal o@ correctional facility

to another.

16. Pursuant to 18 U.S.C. § 4042(a)(6)(E); (7)(E), the Defendants owe
a duty of care and protection to the plaintiff(s).

17. Pursuant to 18 U.S.C. § 3624(c) a prisoner is eligible for fair
consideration of up to 12 months in an RRC, and or a combination of 6 months

RRC and 6 months home confinement.

18. Pursuant to PS 5100.08 a prisoner is eligible for fair consideration
under 18 U.S.C. 3621(b) for a transfer after 18 months clear conduct, called
a near release transfer. At anytime the Bureau may also transfer a prisoner
when they are no longer suitable based on factors outlined in PS 5100.08, such
as custody points 0-11 makes the inmates eligible for camp status, a less harsher
form of imprisonment vs. a Low like Allenwood with a fence which are for inmates
who score 12-15 points on their custody scoring or have more than 10 years

remaining on their sentence absent a waiver.

19. No part of BOP policy, statutory, or regulatory allows for the arbitrary
and capricious decisions of the Defendants to place inmates on gate pass and
deny them a transfer, participating in incentive programs, or RRC. Such practices
is a violation of the law, BOP policy and federal regulations.
Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 5 of 34

19. The Defendant Douglas K. White ("White") created "Gate pass" without
authority and permission from the Regional Director or Central Office.

GatePass

20. LSCI Allenwood utilizes inmates from the Camp at Lewisburg to handle
and address issues related to maintenance and other functions at the complex
for Allenwood as a result of the closure of the camp at Allenwood some years

ago. SL Tit

21. ‘The BOP, federal regulations, nor statutory authority refers to a work
assignment or program called Gate pass at a Low Custody institution.

22. On July 20, 2018 Plaintiff submitted an Inmate Request to the Case
Manager C. Nevil requesting to know why he cannot be transferred to a Camp-
See Exh. ‘A’. According to Case Manager C. Nevil he was put on a waiting list
for gate pass. As demonstrated by Exhibit A at the bottom half of the page
the case manager admitted putting a management variable request to keep Plaintiff
at Allenwood to deny his consideration under 3621(b) for transfer to a camp
even though BOP policy advises that inmates should be allowed a minimum of
60 days in a camp before going to an RRC or commmity confinement facility
for transitional pruposes and programming. See BOP PS 7310.04.

23. Plaintiff Pagan never requested, volunterred, or was consulted about
gate pass to the institution takeing actions contrary to BOP policy. Under

18 U.S.C. § 3621(b) does not contemplate gate pass or waiting lists. Plaintiff
Pagan has medical reasons for not doing gatepass, yet he is being forced to.

24, Plaintiffs have requested a copy of the policy, job descriptions,
responsibility, safety instructions for gate pass. After repeated requests
to the Defendants, and after admitting none exists, they now claim it cannot
be disclosed because of security, a misrepresentation due to the non-existence

of such a policy.

25. On August 7, 2018 Plaintiff Pagan submitted a BP-8 requesting a transfer
to a camp. Exh. 'B'. As demonstrated by “Exhibit B, the same handwriting confirmed
a waiting list for a work detail establishing there was no institution need

for gate pass, an the-ztion to not give fair consideration as arbitrary and

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Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 6 of 34

capricious and mentions nothing of fair consideration under § 3621(b).

26. On August 9, 2018 Plaintiff Pagan filed a BP-9 with the Warden's Office
in which the response was prepared by the Unit Manager. Contrary to the Warden's
representation, I have never expressed a desire to work and earn money which
would aid with my upcoming release. The Defendants cite no policy or statutory,
orregulatory authority for gate pass. See Exh. ‘cl’.

27. On August 25, 2018 Plaintiff Pagan filed a BP-10 with Defendant Ormond.
See Exh. 'D'. Instead of conducting a proper investigation into the abuse
of authority and misrepresentation on a government form to place a management
variable and deny Pagan transfer to a Camp to participate in incentive programs

and or prepare for release, Ormond attempts to recharacterize Pagan's issue.

28. Exhibit 'E' demonstrates Mr. Pagan'’s rebuttal of the "Work Cadre”.
Obviously this management variable is not applicable, first, when you put someone
on a waiting list, there cannot be a sustainable arugment of a "institutional
need," and secondly, there are available inmates from Lewisburg CAMP who can
address any institution need that do not require the use of misrepresentation

of facts to have a management varibale assigned to them.

29. Gn October 5, 2018 Plaintiff Pagan appealed to the Office of Legal
counsel for relief. See Exh. 'F’. Insteading of addressing the issues raised,
simply concured with the Warden and Regional Director's abuse of authority
and acting contrary to BOP Policy and 3621(b). Seemingly, the Office of Legal
counsel believes it is appropriate for the institution to use false information

to apply management variable which is a due process violation.

30. On November 15, 2018 after being repeatedly lied to by his Case Manager
about his halfway house date, Plaintiff Pagan sent a message. to the case management
coordinator. See Exhibit 'G'. According to the admission of the case management
coordinator, I was approved for gate pass which I never applied for on April
20, 2018 and waited to start until August 13, 2018. This was after Pagan initiated
his administrative remedy in order for the defendants to cover-up their illegal
acts and omissions. As further demonstrated, I will not be able to transfer
to a camp for 60 days prior to release to an RRC because of the arbitrary and

capricious;. uttra vires conduct of the defendants.

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Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 7 of 34

Defendant's White's Threats

31. The Defendants created an illegal custody level called gatepass.
In creating gate pass the Defendant developed no policy statement or guidance
on the matter which has resulted in inmates getting seriously injured* The
Defendant was required to obtain approval; for any program prior to implementation
from the BOP Central Office and Regional Director. Despite requests for the

approval; notice, none have been produced.

32. The Defendant and his staff have repeatedly misrepresented that there
is a policy and because of security, they cannot disclose it. Yet on countless
occassions they have already admitted it does not exists.

33. The Defendant and his staff prepare false and misleading paperwork
in furtherance of the unauthorized gatepass to ‘have the Designation Center
in zGrand Praire assign unnecessary management variables so these and other
inmates cannot transfer to another institution or lesser custody, in which
there are other liberty matters at stake, in accordance with 18 U.S.C . 3621(b).

34. As part of the Defendant's scheme, they actively deny inmates access to
the Form 409 which is part of the inmate central file and disclosable. They
falsely inform inmates that a FOIA request needs to be filed which takes up to
9 months, yet BOP policy ambiguously state that inmates do not need to submit a
FOIA request for access to documents in their Inmate Central File. See PS 1351.05.

35. As part of the gatepass activity, inmates are required to strip at least
four to five times a day, go through a body scanner the same amount of time which
has the potential of causing medical issues due to excessive exposure to radiation
from the machines.

COUNT I: VIOLATION of 18 U.S.C. § 3624

36. Plaintiffs reallege paragraphs 1 through 35 as if fully stated herein.

37, The current policy and program statement implement and adhered to by the
Federal Bureau of Prisons of placing inmates on gatepass deprives them of being
CONSIDERED individually for placement in a Residential Reentryt Center or
transititional services under BOP policy 7310.04 as mandated by section 3624(c)

* When inmates are injured, the institution issues incident reports/ disciplinary
“action against the inmates due to staff negligence, I/M Lewis; Martin.
 

Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 8 of 34

or to earn incentives which could result in a shorter term of imprisonment under
34 U.S.C. § 60541 and 18 U.S.C. § 3621(e).

38. The Defendant's Gatepass activity deprives inmates of their statutory
rights under 3624(c) and those contained with the BOP statements.

39. The Defendants know, should know, or has consciously avoided knowing that
its gatepass policy of improperly falsifying documents to deprive them of the
opportunity to earn incentive time off or extended stay at an RRC.

40. Without the intervention of the United States District Court in the maner
and of the kind prayed for herein, the Defendants will be allowed to knowingly
and willfully violated the plaintiffs statutory right to fair consideration for
participation in incentive programs which could earn early time off, extended time

in an RRC or transititional services.
COUNT II; VIOLATION OF APA

41. Plaintiff re-allege and incorporate by reference each and every allegation

contained in paragraph 1 through 40.

42. Defendant's failure to go through the process of obtaining permission
for gatepass, the misuse of the BOP designation system with false information and
misrepresentation, the deprivation of consideration for participation in incentive
programs and fair consideration of transfers causes Plaintiffs significant pain
and suffering by depriving them of their liberty and other liberty matters.

43. Defendant's application of the gatepass against the Plaintiff's and misuse
of authority against them exceeds the Defendant's constitutional and statutory
authority in violation of 5 U.S.C. § 706(2)(A)-(D).

44. As proximate result of the Defendant's staturoy and constitutional
violations, Plaintiffs are suffering and will continue to suffer a significant
deprivation of their liberty without due process of law. Plaintiffs have no
plain, adequate or complete remedy at law to address the wrongs described herein.
The injunctive and declaratory relief sought by Plaintiffs is necessary to prevent

continued and future injury.
Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 9 of 34

COUNT III: VIOLATION OF FOURTH AMENDMENT

45. Plaintiff re-alleges and incorporate by reference each and every allegation

‘contained in Paragraphs 1 through 44.

46. Defendant's use of excessive searchs by forcing inmates to strip four to
five times a day, then go through a full body scanner exposing defendants to
radiation is a violation of Plaintiffs Fourth Amendment right to be free of excessive

searches as guaranteed by the 4th Amendment.

47, The excessive searches of going through a fully body scanner 4 to 5 times
per day, and having to strip any #of times per day is a deprivation of Plaintiff'
Fifth Amendment right to due process as Plaintiff's have no means of challenging
the abuse of authority, as the protections against agency action is arbitrary,

capricious, in bad faith and contrary to law.

48. The strip searches was conducted without probable cause or reason to
believe that any contraband, dangerous material or incriminating objects or
weapons would be found. ‘Thus, each strip search constitutes an unreasonable
search in violation of the Fourth Amendment and Fourteenth Amendment of the United

States Constitution.

49. Plaintiffs have and will continue to suffer irreparable harm and has no

adequate remedy at law.

50. The Defendants will continue to engage in strip searches unless enjoined

from doing os in the future or stopping the gatepass program.

51. Plaintiffs is entitled to injunctive relief enjoing Defendants from
continuing their umconstitutional and unlawful pattern and practice of conduct

as alleged in this complaint.

52. Defendants unconstitutional and unlawful conduct will also adversely

affect the interests of numerous prisoners:without advancing public interests.

53. Defendant's have no protectable interest in the continuation of their
unlawful and unlawful conduct, as they have inmates at Lewisburg Camp who are

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Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 10 of 34

already out custody and do not have to go through this humilation and invasion
of privacy after being forced onto gate pass.

Declaratory Relief

54. Pursuant to Section 2201(a) of Title 21, a judgment declaring:

1. ‘That 18 USC 3624, as a amended by the SCA, confers upon the
plaintiff's a right to be fairly considered, individually, for
placement in an appropriate BOP RRC; and to be able to earn
incentives such as additional time under 34 U.S.C. 60541 and
be eligibe for transfers under 3621(b) at any time.

2. that the Defendant's policy of putting them on gatepass constructively,
violates 3621(b), 3624 and 34 U.S.C. 60541.

3. That the Defendants do not have the discretion to NOT perform an
individual assessment of Plaintiff's placement under 3621(b),
3624 and 34 USC 60541.

 

4. That Plaintiff has exhausted administrative remedies.

5. ‘The use of Gatepass to deny inmates fair consideration for transfers,
denial of transfer to an RRC, or to participate in incentive programs
and deprivation of other matters affecting and impacting liberty in
violation of the laws or Constitution of the Untied States.

6. That the defendants gatepass activity violates prisoners Fourth and
Fourteenth Amendment from illegal searches and or excessive searches
were no probable cause exists.

COUNT IV: DECLARATORY AND INJUNCTIVE RELIEF

54. Plaintiff re-alleges and incorporate by reference each and every
allegation contained in paragraphs 1 through 54.

55. ‘The Declaratory Judgment Act, 28 USC 2201 grants this Court authority
 

 

Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 11 of 34

to declare the Plaintiffs legal wiphts when an actual controversy exists.

56. Plaintiff and defendants have adverse legal interests that are of sufficient
immediacy and reality to warrant the issuance of a Declaratory Judgment in
accordance with 28 USC 2201.

57. For the reasons above, Plaintiff is entitled to a declaration of their

rights.

58. A failure to enjoin the Defendants unconstitutional and unlawful conduct has
and will continue to cause the Plaintiff to suffer injury in that it will result
in the deprivation of their 4th and 14th Amendment rights and protections against
agency action that is arbitrary, capricious, in bad faith, or contrary to law.

59. Wo adequate remedy at law exists.

INJUNCTIVE RELIEF

59. Pursuant to Rule 65, Fed.R.Civ.P. the Plaintiffs requests an injunbction
ordering the Defendants to cease the gate pass program/ activity and refrain from
the use of false information and misrepresentations to apply management variables
to inmates as well as; to cease denying inmates access to their Form 409 and
Form 218 which are disclosable documents from their Inmate Central File, and
to prevent the violation of the Plaintiffs Fourth Amendment rights to illegal
searches and seizure without probable cause or justification.

Prayer for Relief

WHEREFORE, Plaintiff respectfully request that the Court:

a. appoint counsel to represent the Plaintiffs;

b. alternatively , to permit the action to proceed as a habeas;

c. issue a judgment declaring the Defendants practices, policies, acts and
ommissions described herein as applied to the Plaintiffs and other prisoners
are unlawful and exceed defendant's constitutional and statutory authority
in violation of 5 USC 706(2){A)-(D).

d. issue a judgment declaring that Defendants practices, acts znd omissions
violate Plaintiff(s) Fourth Amendment right to be free from illegal.isearch

and seizure.
 

Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 12 of 34

e. Issue a judgment declaring that the Defendants practices, acts, and
omissions violates 18 U.S.C. § 3624 and 34 U.S.C. § 60541, by denying inmates

the ability to earn incentives such as additional RRC or early release;

£. enjoining and restraining the defendants and all persons acting under
their direction or authority or in active concert or participation with them,
from enforcing, or from atttempting to enforce or cause to be enforced, by
any administrative action the gate pass activity;

g. preliminary enjoining and restraining the defendants from enforcing
Or causing to be enforced or attempting to enforce or cause to be enforced,

by any administrative means, the gate pass activity;

h. enjoining and restraining the defendants and all persons acting under
their direction or authority or in active concert or participation with them,
from refusing to provide inmates copies of the Form 409 and Form 210 relating
to transfers, application of management variables, and RRC placement as

such documents by policy are disclosable;

L. Granting plaintiffs all other relief that is just and proper.

Respectfully subnitted, this 21th day of November, 2018.

Respectfully,

/s/Angel M. Pagan, Reg # 12050-067
/s/Vladimir Cruz. Reg # 6/398~050

/s/Edwin Michael Brown, Reg #13507-067

/s/\laime Sanchez; Reg # OGT04~! oF

 
Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 13 of 34

 

EXHIBIT A
 

Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 14 of 34

 

 

 

BP~AQ148 INMATE REQUEST TO STAFF cprrm

JUNE 10

U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS

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TO: (Name and Title of Staff Member) DATE: / /,

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taken. If necessary, you will be interviewed in order to successfully respond to your
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Signature Staff Member Date

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PDF Prescribed by P5511

This form replaces BP-148.070 dated Oct 86
and BP-S148.070 APR 94

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Case 1:18-cv-02317-JEJ Document 1 Filed 12/04/18 Page 15 of 34

BP-AOG148 INMATE REQUEST TO STAFF cprr

JUNE 10
U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS

 

 

 

 

 

 

 

TO: {Name and Title of Staff Member) DATE:
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SUBJECT: (Briefly state your question or concern and the solution you are requesting
Continue on back, if necessary. Your failure to be specific may result in no action being
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request.

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Prescribed by P5511

 

 

 

 

PDF

This form replaces BP-148.070 dated Oct 86
and BP-S148.070 APR 94

SECTION 6

PBEE IN SECTION 6 UNLESS APPROPRIATE FOR Prroibacky PoLDER
 

Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 16 of 34

TRULINCS 12050067 - PAGAN, ANGEL M - Unit: ALF-G-A

FROM: LSCI Gregg Unit Management

TO: 12050067

SUBJECT: RE:***Inmate to Staff Message**
DATE: 08/09/2018 01:42:02 PM

You may address your concern to the Warden.
C. Rothermel, Unit Manager

>>> ~Al"PAGAN, ~MIANGEL M" <12050067@inmatemessage.com> 7/31/2018 8:59 AM >>>
To: Mrs.Nevil
Inmate Work Assignment: Gregg A Orderly

| would like to know the reason of why | can not be put in for a transfer to a camp?Why am | being obligated to do "Gate-Pass"
in order to get a transfer?Especially since I've been on the Gate-Pass waiting lost for 3months now.I've been programming and
have done everything that was asked of me.
 

Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 17 of 34

EXIITBIKr B
 

Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 18 of 34

TRULINCS 12050067 - PAGAN, ANGEL M - Unit: ALF-G-A

FROM: LSCI Case Management Coordinator
TO: 12050067

SUBJECT: RE:***Inmate to Staff Message***
DATE: 11/15/2018 11:32:02 AM

You were approved for gate pass on or about April 20, 2018 but didn't start until August 13, 2018. Ordinarily, we give you credit
for being on the waiting list, however, since you are releasing fo a RRC in January 8, 2019, you will remain on gate pass until
your release to the RRC. We will not have enough time to transfer you toa minimum security institution at this time.

B. Beaver, DCMC

>>> ~AI"PAGAN, ~IANGEL M" <12050067@inmatemessage.com> 11/10/2018 4:32 PM >>>

To: Mr.Beaver
Inmate Work Assignment: Gatepass

Mr. Beaver | am having a small situation and | was told that you are the one whom can help me with it. It's according to when |
was put on the waiting list to go on Gate pass. | was told by Mrs.Nevil that | was on the waiting list for Gatepass,she told me
that | was put on the waiting list in May 5. Mrs.Nevil recently she tells me that on record it says that | started in August which is
true but the Warden said your time starts when you were put on the list. | just want to clarify this mistake and would appreciate it
very much if you can fix it. | went to Mrs.Nevil and showed her a cop-out which she had said in her own words that | was on the
waiting list the cop-out was dated July. She agrees but says that she is not authorized to change the date. She also said that
the Captains Secretary doesn't have anything on records except the August date of when | started. All | am asking is that the
dates be fixed. Please and Thank You.
 

Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 19 of 34

   
 

 

 

 

 

 

 

 

 

BP AOL4S a INMATE REQUEST TO STAFF CDERM
U.S. DEPARTMENT OF JUSTICE ane _ mercer — FEDERAL BUREAU OF PRISONS
TO: (Name and Title of Staff Member) DATE:
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FROM: ~? REGISTER NO.:
faael On Ca vr lZosS"0007
WORK ASSIGNMENT: UNIT:
Gate Va $$ Grea, A

SUBJECT: (Briefly state your question or. -conéern ‘and the..solution you are requesting.
Continue on back, if necessary. 9 i: ; i

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request.

 

 

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DISPOS ITION:

 

 

 

 

 

 
 

Case 1:18-cv-02317-JEJ Documenti1 Filed 12/04/18 Page 204 3 1.

January 1, 2009
Attachment 1

FEDERAL CORRECTIONAL COMPLEX
Allenwood, Pennsylvania

ADMINISTRATIVE REMEDY PROCEDURE FOR INMATES
INFORMAL RESOLUTION FORM

NOTE TO INMATE: You are advised that prior to receiving and filing a Request
for Administrative Remedy Form BP-9 [BP-229(13)], you must ordinarily attempt
to informally resolve your complaint through your Correctional Counselor,
Briefly state ONE complaint below and list what efforts you have made to
resolve your complaint informally and state the names of staff contacted.

Issued By: | 133, (Initials of Correctional Counselor)

Date Issued To The” Inmate: e-2-1§

 

INMATE'S COMMENTS:

1. Complaint: I am remiesting te he transferred tn a camp 39 soon as possible so JI can

 

 

 

det the necessary skills and he able to re-establish mv community ties, varticinpate in

pre-release programming prior to release, Consistent with PS_5199.08 § ps 7310.04, #8
2. Efforts you have made to informally resolve: Spoken with Unit Team

Cop-out be

 

 

 

3. Names of staff you contacted: Ms. Nevill

 

 

Date Returned to Correctional Counselor: C~7~+1 y

Angel Pog oun l2QS0-0L7 = $-7- /g “

Print Inmate Name Inmate's gnature Reg. Number Date
CORRECTIONAL COUNSELOR'S COMMENTS :
1. Efforts made 5° bnformally resolve and staff contacted: Vayu ams Tisvet_f
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Date BP~9 Issued: §~ §-] y

 

 

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Unit Manager (Date)

Distribution: If complaint is NOT informally resolved - Forward original
attached to BP-9 Form to the Administrative Remedy Clerk.
 

Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 21 of 34

PAN, Agel.
REG NO. 12050-067
Administrative Remedy Continuation Page

= Work Cadre - N/A. Pursuant to Section 9(a)(1) of PS 7310.04 — Inmates who have been
approved for ccc referral and are otherwise appropriate for camp placement SHALL be
transferred to a camp for intermediate placement. The inmate should have completed the
Institution preparation program at the parent institution. The parent institution shall
complete the CCC referral packet and the camp should be close to the inmate's residence.
This process should be allow the inmate a minimum of 60 day placement at a camp prior
to the acceptance date at the CCC.

The above guidelines makes it clear that I am entitled to relief but for the arbitrary
and capricious actions of the institution.
REMEDY
The response should address:
(1) when and how many inmates are approved for purported "gate pass"

(2) why are inmates being threatened to be put in the SHU:if the do not participate
in gate pass or being told that it is mandatory when there is no written policy
or guidance regaring Ehe program

(3) provide a copy of the approved policy at the regional level
(4) why is the institution targeting Minorities for "gate pass" only?

Lastly, I am requesting that my transfer for a camp be processed without
further delay.
Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 22 of 34

 

EXHIBIT C
 

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eye “OB ig: # Gage: 18-¢ -CV- 02317- JED Document 1 Filed 12/04/18 Page 23 of 34 “eea\
' U.S. DEPARTMENT OF JUSTICE _ REQUEST FOR ADMINISTRATIVE REMEDY

Federal Bureau of Prisons £

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Type or use bali-point pen: if attachments are needed, submit four copies. Additional instructions on reverse.

 

From: i _<.%j i", angel feeSewwie J _ crego A LSCTALLENWoor |
LAST: NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION

 

Part A- INMATE REQUEST fir. Pager is sxking revies of the Unit Tees's refusal to trensfer him to a camp prior
to releases avi forcing him to do “sabe pass” in viclation of molicy. Maxeiver, Mr. Pagen reqwests a Shay on Wiws clatement
@1 "getepsss” as such action: are aroitrary ar copmicious ary? done te sir isn frou purwins; hit eduinistrative reredy for
relief. Mr. Pace seeks an inmediatretrensier to acaip. Mr. Fagen was Genie a transfer to e cam beceuse of the instit-
ution s Leite ad weepeoved policy of forcinc inmates to do “oate pass.” I TeWenmCuEested, moe Go T wad te rertic-
ipete in gate pass as there is oo authorization for such avogram here. Gate mes is of ne benefit tome, There ane gan
other jnmetes who would volutbeer for such position for verlous resens, Morcover, rather phan procees Panan's tranetke tr
ine caus, the institution arhitwariiy requested a management variable af ‘work cate" he aesicgec to me. fbile work cadre
is assigne? to inmates at sce fachlities without satellite cams, the Regional Director ony authoriged a osrtein runber,
Tt is obvious if aggroved that those nunbars have been exceeded since Pacen has been on é vwebting List (thet he never ages!
tobe cuton} for 3 months. Putting a mnesment verlacle of work cadre avi keening me from cettirg meetmy adills ax
retticipating in comunity basgi transitional services offersd at a camp, to tka to the comity is da aoes cf actho-
Yity avi dome without authorization, especially since Pegen has been given only a fee months of healiway home. T an nee
uesting @ transfer to 2 cemp as sog? as noesible. ‘The wok cadre management variadle can eeily te reswwed jusb as it wes
pit on avd there is no mandated Lergeth of time to remme it. See 85 SLOC.6S - Work Cecime ~ N/A. Pursuent to Section: Sa){l
of PS 7310.04 ~ Toretes who have been aporoaved for COD referrel avd ave otherwise aoeopria ete for cant placement AELL oe
hransferrsd to ¢ comp for ietermediate placement. ‘The irmete should heve completed the Instituhion freveration moyen at
ihe rematt institution, The parent institution shall ccpplete the OTC referral packet anid the camo should be close to tre

  

 

 

 

inmate's residence, This peogess should be allowsire inmate a minim of ) Oey | mt at a camp prior to the avepterre:
MATE Based on the guidance aiowe, I an requesting to be ore Gis FREE REQUESTER

Part B- RESPONSE ‘See PS 5100.06 ari PS 710.04 *

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DATE ~ 3 ‘nel

Af dissatisfied with this response, you may appeal to the Regional Director. Your appeal must be received in the Regional Office within 20 cele

 

WARDEN OR REGIONAL DIRECTOR
days of the date ne of this response.

 
   

 

 

 

 

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SECOND COPY: RETURN TO INMATE « CASE NUMBER: a4 SUE
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CASE NUMBER:

Part C- RECEIPT

Return to: .
LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION
SUBJECT:
DATE : RECIPIENT’ 5 SIGNATURE (STAFF MEMBER) BP- 13)
& . APRIL 1982 -
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Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 24 of 34

PAGAN, Angel

Reg. No.: 12050-067
Appeal Number: 950458-F1l
Page l

 

Part B - Response

This is in response to your Request for Administrative Remedy
received on August 16, 2018, where you request transfer to a minimum
security level facility and that you not be assigned to the Gate Pass
work detail.

A review of your case revealed you arrived at the Low Security
Correctional Institution, Allenwood, Pennsylvania, on

February 9, 2017, as a Lesser Security Transfer from the Federal
Correctional Institution, Schuylkill, Pennsylvania. You are
currently serving a 57-month term from the Middle District of |
Pennsylvania for Felon in Possession of a Firearm and Possession :
w/Intent to Distribute. You currently have a projected release date
of June 29, 2019, via Good Conduct Time release procedures. You have
a Custody Classification score of 8 points, with the Work Cadre
Management Variable applied to your case. You have been determined
to be appropriate for assignment to the institution Work Cadre
detail. The applied Management Variable has no expiration date.
You previously indicated a desire to work and earn money which would
aid you with your upcoming release needs. Through placement on the
Gate Pass work detail, you will have the ability to work and save
Money to assist you with your release needs. In addition, your Unit
Team has made a Residential Re-Entry Center placement recommendation
of 151-180 days. Based upon the determination of an appropriate
placement date, your case will continue to be reviewed by your Unit
Team. At this time you will continue to be confined at the LSCI
Allenwood with the work assignment of Gate Pass.

Therefore, based on the above information, your Request for
Administrative Remedy is denied.

If you are not satisfied with this response, you may appeal to the
Regional Director, Federal. Bureau of Prisons, Northeast Regional

Office, U.S. Customs House, 2nd and Chestnut Streets, 7th Floor,

Philadelphia, Pennsylvania, 19106, with alendar days of this
response.

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Date D. K. [White
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TO

Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 25 of 34

PAGAN, Angel
Reg. No.: 12050-067 2
Gregg Unit

LSCI Allenwood

Page 1

 

Inmate Request to Staff Response

This is in response to your letter dated February 16, 2018, received
by my office. Inyour letter, you are requesting you not be submitted
for “Gate Pass.”

You currently have a projected release date of June 29, 2019, via
Good Conduct Time release procedures. You currently have a detainer
lodged against you by the State of Pennsylvania Lebanon County
Sheriff's Department for Failure to Appear, Docket No.
CP=XX-XXXXXXX-2015. Due to this detainer you are not eligible for
“Gate Pass” or any other type of community based programming to
include Residential Re-Entry Center placement consideration. You
are currently classified with 10 points and have had the Greater
Security Management Variable applied to your case asa result of the
detainer.

I trust this information has addressed your concerns.

Date . & x. White
LSCI Allenwood Warden
 

 

Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 26 of 34

EXHIIBIIT D
an e* Case 1:18-cv-02317-JEJ Document 1 Filed 12/04/18 Page 27 of 34 |
"U.S. Department of Justice Regional Administrative Remedy Appeal

Federal Bureau of Prisons
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Type or use ball-point pen. If attachments are needed, submit four copies. One copy of the completed BP-229(13) including any attachments must be submitted

with this appeat.-,
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REG. NO.

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Part B - RESPONSE
= me
* s ' *
DATE REGIONAL DIRECTOR’ _
If dissatisfied with this résponse, you may appeal to the General Counsel. ‘Your appeal must be received in the General Counsel’s Office within 30 calendar |
_ days of the date of this Fesponse. _ ' .
SECOND. COPY: RETURN TO INMATE , , : . . “CASE NUMBER:
Part C- RECERT.
CASE NUMBER:
: Retum to: : _
| LAST NAME, FIRST, MIDDLEINITIAL  —— REG.NO. UNIT ' TNSTITUTION
SUBJECT:
DATE SIGNATURE, RECIPIENT OF REGIONAL APPEAL

BP.230(13)
FP!-PEPA TEC RECYCLED PAPE . JUNE 2002

 
 

Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 28 of 34

PAGAN, Angel

Reg. No. 12050-067
Appeal No. 950458-R1
Page One

 

Part B - Response

You appeal the response from the Warden at LSCI Allenwood regarding
your request to be transferred to a camp. Specifically, you claim
you are being compelled to participate in the Gate Pass program. You
request a transfer to a Minimum Security facility.

Program Statement 5100.08, Inmate Security Designation and Custody
Classification, permits staff to use professional judgment within
specific guidelines in making classification decisions. Staff must
consider all information available regarding the inmate to include
security/custody level, institutional adjustment, population
issues, safety concerns, etc. Custody scoring for program
participation depends on the inmate’s initiative in programming.
The above policy also authorizes the use of Management Variables
(MGVTs) when there is reasonable justification for housing an inmate
in an institution not commensurate with his or her security level.
Additionally, pursuant to Program Statement 5251.06, Inmate Work and
Performance Pay, various factors, such as needs, eligibility, and
security, are considered when staff determine work and/or program
assignments.

A review of your appeal reveals the Warden adequately addressed your
complaint. Your placement in the Gate Pass/Work Cadre Program at
LSCI Allenwood was deemed appropriate based on institution need, your
security level, and recent custody decrease. Furthermore, the
Designation and Sentence Computation Center reviewed and approved the
application of the Work Cadre MGTV. Accordingly, your appeal is
denied. ,

If you are dissatisfied with this response, you may appeal to the
General Counsel, Federal Bureau of Prisons. Your appeal must be
received in the Administrative Remedy Section, Office of General
Counsel, Federal Bureau of Prisons, 320 First Street, N.W.,

Washington, D.C. 20534, within 30 calendar days of the date of this

Date: September 28, 2018 J. RAY ORMOND
Regional Director

 
 

Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 29 of 34

EXHIBIIT E
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Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 30 of 34

Administrative Remedy

PAGAN, Angel M. Reg # 1205C-067

I wass denied a transfer to a camp because of the institution's unwritten and
unapproved policy of forcing inmates to do gate pass. I never requested, nor do I
want to -participate in "gate pass as it is of no benefit to me. There are many
other inmates who would volunteer for such position for variouss reasons. Moreover,
rather than process my transfer to the camp the institution arbitrarily requested 4
Management variable.of “work cadre" be assigned to me. While work cadre are assigned
to inmates at some facilities without satellite camps, the Regional Director only
authorized a certain number. It is obvious that the numbers have been exceeded since

I have been on a waiting list (that I never asked to be put on) for 3 months.

Putting a management variable of work cadre and keeping me from getting re-entry
Skills and participating in community based transitional services offered at a camp
to return to the community is an abuse of authority and done without authorization,

especially since I have been given only a few months of half-way house.

I am requesting a transfer to a camp as soon as possible. The work cadre manage-
ment variable can easily be removed just as it was put on and there is no mandated
length of time to remove it. See PS 5100.08 —- Work Cadre - N/A

Pursuant to Section 9({a)(1) :of PS 7310.04 - Inmates who have been approved for CCC
referral and are otherwise appropriate for camp placement SHALL be transferred to a
camp for intermediate placement. The inmate should have completed the Institution
Preparation Program at the parent institution. The parent institution shall comp-
lete the CCC referral packet and the camp should be close to the inmate's residence.
This process should be allow:the:inmate a minimum of 60 day placement at the camp

prior to the acceptance date at the CCC.

Based on the guidance above, I am requesting to be transferred to a camp.

 
Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 31 of 34

EXHIIBIT F
 

Case 1:18-cv-02317-JEJ Docum

U.S. D-partment of Justice on o entral Office Administra Ive Remedy Appeal

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Type or use ball-point pen. If attachments are needed, submit four copies. One copy each of the completed BP-~DIR-9 and BP-DIR-10, including any attach-

ments must be submitted with this appeal.

From: PAGAN, ANGEL 12050-067 gregg LSCI ALLENWOOD

LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION
_ Ll am seeking review of the Regional Director's refusal to address the

quections 1 eed ey ty Appeal and the Warden's abuse of discretion and jeopardizing inmate safety.
Mr. Pagan was forced to do "gate pass" a purported work assignment with no program statement or
policy to support it. He was threated by staff that it is mandatory, and would be put in the SHU.
Like many of the inmates, Mr. Pagan is eligible for Camp placement and this institution is abusing
and discriminating minority inmates as well as jeopardizing their safety but putting on this gate
pass program. The institution misrepresentation facts to the Regional Office and they simply
accepted it rather than investigate this matter as they are required to do under the Administrative
Procedure Act. Every program has a safety training and job outline. Where is the program statemer
and job information and safety procedures for this program? Mr. Pagan seeks immediate transfer to
a camp and was discriminated against as well as arbitrary and capricious. I never requested, nor dk
I want to participate in gate pass as there is no authorization for such program here. I was
threatened with being put in the SHU if I refused. Gate pass is of no benefit to me. There are mai
other inmates who would volunteer for such position for various reasons. Since there is no statut«
authority for me to do gatepass, I should not have been threatened or intimidated. It's worth
nothing a number of inmates have been injured as a result of being on gate pass. The warden abuse
his authority when staff lied on the Form 409 stating that inmates are voluntarily wanting on
gatepass to get DSCC to approve the management variable. But for the miscepresentation, DSCC

(a-s=lE_ would not have approved a management variable.

DATE SIGNATURE OF REQUESTER
Part B—~RESPONSE

 

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DATE GENERAL COUNSEL
ORIGINAL: RETURN TO INMATE CASE NUMBER: GSOYSE Fl

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CASE NUMBER:

Return to:

 

LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION
SUBJECT:

 

 

 

DATE SIGNATURE OF RECIPIENT OF CENTRAL OFFICE APPEAL BP-231(13)
USP LVN APRIL 198
Case 1:18-cv-02317-JEJ Document1 Filed 12/04/18 Page 33 of 34

Administrative Remedy No. 950458-Al
Part B - Response

This is in response to your Central Office Administrative Remedy
Appeal wherein you claim you are being forced to participate in
the Gate Pass Program and due to misrepresentation of facts, the
Designation and Sentence Computation Center (DSCC) applied a
management variable (MGTV). For relief, you request a transfer
to a camp.

We have reviewed documentation relevant to your appeal and,
based on the information gathered, concur with the manner in
which the Warden and Regional Director addressed your concerns
at the time of your Request for Administrative Remedy and
subsequent appeal. Pursuant to Program Statement 5100.08,
Inmate Security Designation and Custody Classification, staff
are permitted to use professional judgement within specific
guidelines when making classification decisions. Based on
institution need, your security level and recent custody
decrease, your placement in the Gate Pass/Work Cadre Program at
LSCI Allenwood was deemed appropriate. As such, the Designation
and Sentence Computation Center appropriately determined you
require the MGTV of Work Cadre.

Accordingly, your appeal is denied.

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Date Ian tomficrs, so rcenia, Ch

National Inmate Appeals

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=V-02317-JEJ Document 1 Filed 12/04/18 Page 34 of 34 |

 

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PER DEPUTY CLERK

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